           CASE 0:22-cr-00063-ADM Doc. 43 Filed 09/26/22 Page 1 of 5




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                             Criminal No. 22-63 (ADM)

 UNITED STATES OF AMERICA,                     )
                                               )
                      Plaintiff,               )
                                               ) GOVERNMENT’S SENTENCING
               v.                              ) MEMORANDUM
                                               )
 Randolph Seth Anderson,                       )
                                               )
                      Defendant.               )
                                               )
                                               )

      The United States of America, by and through its attorneys, Andrew M. Luger,

United States Attorney for the District of Minnesota, and Justin A. Wesley, Assistant

United States Attorney, hereby respectfully submits its memorandum and position on

sentencing as to defendant Randolph Seth Anderson. The United States is advocating for a

sentence of 194 months’ imprisonment.

                                   BACKGROUND

      A.     Factual Background

      Anderson was on federal supervised release for felon in possession of a firearm

when he robbed a thrift store and, the following day, a restaurant. On both occasions,

Anderson brandished a firearm. After the second robbery, he led police on a chase where

he fired a gun at an apartment unit to gain access, entered the building, and fled out the

other side before surrendering.
            CASE 0:22-cr-00063-ADM Doc. 43 Filed 09/26/22 Page 2 of 5




       B.     Presentence Report and Guidelines Calculation

       On May 11, 2022, Anderson pled guilty to Counts 1 and 2 (Robbery and

Brandishing a Firearm) of a two-count information. (PSR ¶ 1-2; DCD 11).

       The PSR calculated a total offense level of 25 (including a three-level reduction for

acceptance of responsibility) and a criminal history category of VI. (PSR ¶ 140). The

defendant’s applicable Guideline range is 110 months to 137 months imprisonment,

followed by a minimum of 84 consecutive months imprisonment. (PSR ¶ 140). Effectively,

the range is a minimum of 194 to 221 months imprisonment.

                             POSITION ON SENTENCING

       The issue before the Court is what constitutes a reasonable sentence considering the

factors enumerated in Title 18, United States Code, Section 3553(a). In fashioning a

sentence, Section 3553(a) requires the Court to consider the nature and circumstances of

the offense; the history and characteristics of the defendant; the need for the sentence to

reflect the seriousness of the offense; the need for deterrence; the need to protect the public

from further crimes of the defendant; and the need to avoid unwarranted sentencing

disparities. 18 U.S.C. § 3553(a). A consideration of these factors for defendant Anderson

supports a total sentence of 194 months. The government believes the seriousness of the

instant offenses and Anderson’s violent and repeat criminal history outweigh any

countervailing factors.

       A.     Nature of the Offense

       The nature of the defendant’s offense is very serious. He engaged in two violent

robberies of businesses in which he pointed a firearm at employees. Notably, he possessed


                                              2
            CASE 0:22-cr-00063-ADM Doc. 43 Filed 09/26/22 Page 3 of 5




and brandished a firearm in furtherance of his violent crimes, even though he was

prohibited from possessing firearms by virtue of prior felony convictions. Robbery is an

inherently dangerous crime, especially when a firearm is involved, in no small part due to

the very real possibility of a violent confrontation between the perpetrator and the victims,

bystanders, or law enforcement.

       B.     The Defendant’s History and Characteristics

       Anderson’s criminal history started with the theft of a motor vehicle in 1989 when

he was 17 years old, but he was certified for adult prosecution. (PSR ¶ 49). Since then, he

has accumulated more than 20 felony convictions, including criminal trespass, possession

of controlled substances, thefts, financial transaction card fraud, possession of stolen

property, burglaries, escape from custody, fleeing a peace officer in a motor vehicle, felon

in possession of a firearm (both state and federal), and multiple additional convictions for

theft of a motor vehicle, , (DCD 50, 53, 56, 57, 58, 59, 61, 62, 63, 64, 65, 66, 67, 68, 70,

71, 72, 73, 74, 75, 76, 77). Terms of imprisonment ranged from a year and a day to 78

months. (PSR ¶ 158). The defendant has a poor record on supervised release with numerous

violations, including the commission of new offenses.

       The defendant suffered an unstable childhood, and has had longstanding struggles

with mental health and substance abuse. (PSR ¶ 96-100, 112-122).

       C.     Other Considerations

       Perhaps the most important reasons for a significant sentence in this case are to

reflect the serious of the offense, deterrence, and protection of the public. Anderson has

over twenty past felony convictions, including burglaries of homes and possession of a


                                             3
           CASE 0:22-cr-00063-ADM Doc. 43 Filed 09/26/22 Page 4 of 5




firearm. His history and manner of flight from law enforcement has also posed a danger to

others on more than one occasion.

       The current offense involves Anderson robbing two separate businesses at gunpoint

and discharging a firearm to gain access to an apartment building while fleeing from police

after those crimes.

       In sum, a sentence for Anderson of 194 months is justified under the law and

circumstances of this case. It accounts for both any mitigating and aggravating aspects of

the defendant’s personal history, while at the same time reflecting the seriousness of the

offense, promoting respect for the law, providing just punishment for the offense, affording

adequate deterrence, and protecting the public from further crimes of the defendant.

                                     RESTITUTION

       The provisions of the Mandatory Restitution Act, 18 U.S.C. § 3663A, apply to this

case because the defendant was convicted of a crime of violence (i.e., Interference with

Commerce by Robbery) and there is one or more identifiable victims who have suffered a

pecuniary loss. 18 U.S.C. § 3663A(c)(1); (PSR ¶ 21, 150). The government has reached

out to the victims in this case on more than one occasion but has not received any specific

request for restitution. The government will provide the court and parties with any updates

regarding restitution or victim impact statements if it becomes aware of them.




                                             4
          CASE 0:22-cr-00063-ADM Doc. 43 Filed 09/26/22 Page 5 of 5




                                  CONCLUSION

      For all the foregoing reasons, the United States respectfully recommends that the

Court impose a sentence on defendant Anderson of 194 months in prison.

                                              Respectfully submitted,

Dated: September 26, 2022                     ANDREW M. LUGER
                                              United States Attorney

                                              /s/   Justin A. Wesley
                                              BY: JUSTIN A. WESLEY
                                              Assistant U.S. Attorney
                                              Attorney ID No. 0389189




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